97 F.3d 1461
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Philip H. FALKOWSKI, Defendant-Appellant.
    No. 96-35115.
    United States Court of Appeals, Ninth Circuit.
    Submitted Sept. 10, 1996.*Decided Sept. 13, 1996.
    
      Before:  FLETCHER, BRUNETTI, and NOONAN, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Philip H. Falkowski, a federal prisoner, appeals the denial of his 28 U.S.C. § 2255 motion challenging his conviction for continuing criminal enterprise, money laundering, and investment of drug proceeds in violation of 18 U.S.C. § 1956 and 21 U.S.C. §§ 848 and 854.  Falkowski contends that the Double Jeopardy Clause barred his conviction due to the prior civil forfeiture of his real property pursuant to 21 U.S.C. §§ 881(a)(6) and (7).  This contention is precluded by the Supreme Court's decision in  United States v. Ursery, 116 S.Ct. 2135 (1996).  See United States v. Sardone, No. 95-50303, slip op. 10917, 10925 (9th Cir.  Aug. 30, 1996).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    